Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 1 of 60




                                          MJ20-339
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 2 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 3 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 4 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 5 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 6 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 7 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 8 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 9 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 10 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 11 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 12 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 13 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 14 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 15 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 16 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 17 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 18 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 19 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 20 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 21 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 22 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 23 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 24 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 25 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 26 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 27 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 28 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 29 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 30 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 31 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 32 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 33 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 34 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 35 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 36 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 37 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 38 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 39 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 40 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 41 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 42 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 43 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 44 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 45 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 46 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 47 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 48 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 49 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 50 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 51 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 52 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 53 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 54 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 55 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 56 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 57 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 58 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 59 of 60
Case 2:20-mj-00339-PLM Document 1 Filed 06/11/20 Page 60 of 60
